 Case 1:17-cv-00946           Document 29       Filed 02/24/17     Page 1 of 32 PageID #: 344




                            UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF WEST VIRGINIA
                                 BLUEFIELD DIVISION


THE COUNTY COMMISSION OF
MCDOWELL COUNTY,

                     Plaintiff,
                                                         Case No.: 1:17-cv-00946
v.                                                       Judge David A. Faber

MCKESSON CORPORATION,
AMERISOURCEBERGEN DRUG
CORPORATION, CARDINAL HEALTH 110,
LLC, and HAROLD ANTHONY COFER, Jr.,
M.D.,


                       Defendants.

                                     AMENDED COMPLAINT

          Pursuant to Fed. R. Civ. P. 15(a)(1)(A) and this Court s extension of time file a response

(ECF No. 21), Plaintiff, the County Commission of McDowell County, files this Amended

Complaint and sues Defendants McKesson Corporation; Amerisource Bergen Drug Corporation;

Cardinal Health 110, LLC; and Harold Anthony Cofer, Jr., M.D.                    , and for causes of

action states as follows:

     I.        INTRODUCTION

          1.     This matter involves a serious breach of the public trust which has resulted in

drug abuse, misuse and overdose deaths. Like sharks circling their prey, multi-billion dollar

companies, along with smaller players like local physicians, descended upon Appalachia for the

sole purpose of profiting off of the prescription drug fueled feeding frenzy commonly referred to,

and more fully explained below as, the opioid epidemic.



                                            Page 1 of 32
 Case 1:17-cv-00946        Document 29        Filed 02/24/17     Page 2 of 32 PageID #: 345




       2.      As distributors of dangerous products like narcotics, these companies bore a

rather significant duty to ensure that the drugs did not end up in the wrong hands. In exchange

for promising to honor their obligations, each of the defendants was licensed and/or registered by

the West Virginia Board of Pharmacy and ultimately received compensation in the form of

millions of dollars per year for shipping volumes of drugs well beyond what a reasonable

company would expect.

       3.      Unfortunately for everyone except Defendants, these dangerous and addictive

drugs did end up in the wrong hands. These drugs were diverted, misused, and abused, to the

point where citizens of West Virginia, including residents of McDowell County, lost their jobs,

health and even their lives. Left in the wake of this malfeasance are small towns and counties

like McDowell, to clean up the mess and try to restore order while Defendants sit back and count

the money they made off of their misdeeds.

       4.      When the dangerous and addictive drugs caused harm to the public health of

McDowell County residents in the form of addiction, overdose and death, the Defendants were

nowhere to be seen, but McDowell County was there to dispatch emergency services, run drug

treatment programs, investigate overdoses, care for the infirm and transport dead bodies.

       5.      When the dangerous and addictive drugs caused harm to the public utilities of

McDowell County in the form of litter and damaged and destroyed public property, among other

things, the Defendants were nowhere to be seen, but McDowell County was there to enforce

codes, clean up streets and neighborhoods, and repair and/or replace damaged and destroyed

public property.




                                          Page 2 of 32
 Case 1:17-cv-00946         Document 29       Filed 02/24/17      Page 3 of 32 PageID #: 346




         6.      When the dangerous and addictive drugs caused increases in crime in McDowell

County, the Defendants were nowhere to be found, but McDowell County was there to dispatch

police, prosecute cases, supervise offenders in jail and eventually place them back into society.

         7.      This action is therefore brought to recoup the expenses and recover the damages

suffered by McDowell County, as caused in whole or in part, by the actions of Defendants.

   II.         PARTIES

         8.      Plaintiff, the County Commission of McDowell County is the duly elected

political body of McDowell County, a political subdivision of the state of West Virginia. The

County Commission of McDowell County brings this action on behalf and for the benefit of

McDowell County pursuant to W.Va. Code §§7-1-1 and 8-12-1(3). Plaintiff is hereinafter



         9.      The collective actions of Defendants have caused and will continue to cause

McDowell County to expend substantial sums of public funds to deal with the significant

consequences of

malicious actions in flooding the state with highly addictive prescription medications without

regard for the adverse consequences to McDowell County or its residents.

   a. MCKESSON CORPORATION

         10.     McKesson Corporation                              is a Delaware Corporation with

headquarters in California that conducts business in West Virginia.

         11.     Among its many business interests, McKesson distributes pharmaceuticals to

retail pharmacy operations, as well as institutional providers like hospitals and county health

departments.




                                           Page 3 of 32
    Case 1:17-cv-00946      Document 29        Filed 02/24/17     Page 4 of 32 PageID #: 347




        12.    McKesson is the largest pharmaceutical distributor in North America. McKesson

delivers approximately one third of all pharmaceuticals used in North America.

        13.    McKesson does substantial business in the state of West Virginia wherein it

                                                                                       significantly

in McDowell County.

        14.    From 2007 to 2012,1 McKesson distributed 46,179,600 doses of Hydrocodone

and 54,304,980 doses of Oxycodone for a total of 99,484,580 doses of Hydrocodone and

Oxycodone to West Virginia during the six year period; with 2,337,660 Hydrocodone doses, and

1,457,400 Oxycodone does going to McDowell County alone.

        15.    In addition to Oxycodone and Hydrocodone, McKesson distributed high

quantities of several other scheduled narcotics to pharmacies throughout the state including

formulations of fentanyl and suboxone which have quickly become centerpieces in the opioid

epidemic.

     b. CARDINAL HEALTH 110 LLC

        16.    Cardinal Health 110 LLC                                is an Ohio Corporation that

conducts business in West Virginia.

        17.    Like McKesson, Cardinal distributes pharmaceuticals to retail pharmacy

operations, as well as institutional providers like hospitals and county health departments.

        18.    Cardinal is the third largest pharmaceutical distributor in North America.




1
                                                                       construed as a limitation on

the timeframe for which Plaintiff already possesses significant statistical data. Plaintiff intends
to discover                         on amounts for later time periods during the course of
discovery in this case.
                                          Page 4 of 32
    Case 1:17-cv-00946        Document 29       Filed 02/24/17    Page 5 of 32 PageID #: 348




          19.    Cardinal does substantial business in the state of West Virginia wherein it

                                                                                    significantly

in McDowell County. Cardinal distributed 97,629,010 doses of Hydrocodone and 85,348,240

doses of Oxycodone for a total of 182,977,250 doses of Hydrocodone and Oxycodone to West

Virginia during the six year period from 2007 to 2012, 2 with 3,052,370 Hydrocodone doses, and

1,492,960 Oxycodone doses going to McDowell County alone.

      c. AMERISOURCEBERGEN DRUG CORPORATION

          20.    AmerisourceBergen Drug Corporation                                          is a

Delaware Corporation that conducts business in West Virginia.

          21.    Like McKesson, ABDC distributes pharmaceuticals to retail pharmacy operations,

as well as institutional providers like hospitals and county health departments.

          22.    ABDC is the second largest pharmaceutical distributor in North America.

          23.    ABDC is a registrant with the West Virginia Board of Pharmacy and does

substantial business in the state of West Virginia wherein it distributed pharmaceuticals in

McDowell County.

          24.    Specifically, ABDC distributed 80,586,670 doses of Hydrocodone and

38,322,820 doses of Oxycodone for a total of 118,909,490 doses of Hydrocodone and

Oxycodone to West Virginia during the six year period 2007 to 2012,3 with 1,467,900

Hydrocodone doses, and 193,000 Oxycodone doses going to McDowell County alone.

      d. DR. HAROLD ANTHONY COFER, JR.

          25.    Dr. Cofer has been licensed to practice in West Virginia since 1981 (medical

license number 12594).

2
    See supra note 1 regarding statistics from 2007 to 2012.
3
    See supra note 1 regarding statistics from 2007 to 2012.
                                              Page 5 of 32
    Case 1:17-cv-00946          Document 29       Filed 02/24/17    Page 6 of 32 PageID #: 349




             26.     Dr. Cofer practiced medicine in neighboring Northfork from 2012 through 2015.

Dr. Cofer currently practices in Bluefield, West Virginia (Mercer County).

             27.     Over the relevant time period, Dr. Cofer wrote prescriptions for medications,

including but not limited to schedule II opioids, to individual patients at his office in McDowell

County.

      III.         JURISDICTION AND VENUE

             28.     The West Virginia State Courts have jurisdiction over this case 4 and over

Defendants pursuant to the provisions of W.Va. Code § 56-3-33.              Federal subject matter

jurisdiction does not exist.

             29.     Venue is appropriate in McDowell County as the acts and practices of the

Defendants occurred in and caused the damage in McDowell County. Additionally, during the

relevant time period, Dr. Cofer knowingly treated patients and prescribed opioids to residents of

McDowell County and was aware that a great majority of his prescriptions were filled at

pharmacies located within McDowell County.

      IV.          FACTUAL BACKGROUND

             30.     Within the last 20 years, a scourge has infected this country, particularly in

greater Appalachia and West Virginia. McDowell County is ground zero for this plague, where

it has destroyed lives and ruined local economies. The scourge is popularly known as the

    opioid epidemic. 5




4
                        and do not concede that federal subject matter jurisdiction exists over this
matter, as set forth in their Motion to Remand, filed concurrently herewith.
5
  L. Manchikanti et al., Opioid Epidemic in the United States, available at
https://www.ncbi.nlm.nih.gov/pubmed/22786464.
                                           Page 6 of 32
    Case 1:17-cv-00946      Document 29        Filed 02/24/17     Page 7 of 32 PageID #: 350




        31.    Opioids are effective treatments for short-term post-surgical and trauma-related

pain, and for palliative (end-of-life) care. 6 However, opioids are addictive and subject to abuse,

particularly when used long-term for chronic non-cancer pain (pain lasting three months or

                                                                                            -resort.

        32.    As pharmaceutical distributors and a practicing physician, Defendants have

known for years that with prolonged use, the effectiveness of opioids wanes, requiring increases

in doses and markedly increasing the risk of significant side effects and addiction.

        33.    Defendants knew also that controlled studies of the safety and efficacy of opioids

were limited to short-term use (not longer than 90 days), and in managed settings (e.g.,

hospitals), where the risk of addiction and other adverse outcomes was much less significant.

T                                                          pressly recognized that there have been

no long-term studies demonstrating the safety and efficacy of opioids for long-term use.

        34.    Prescription opioids, which include well-known brand-name drugs like

OxyContin and Percocet, as well as generics like oxycodone and hydrocodone, are narcotics.

They are derived from or possess properties similar to opium and heroin, and thus, they are

regulated as controlled substances. 7



6
                                                                                  th
                                                                                       Edition.
7
  Since passage of t
as controlled substances. Controlled substances are categorized in five schedules, ranked in order
of their potential for abuse, with Schedule I being the highest. The CSA imposes a hierarchy of
restrictions on prescribing and dispensing drugs based on their medicinal value, likelihood of
addiction or abuse, and safety. Opioids generally had been categorized as Schedule II or
Schedule III drugs. Schedule II drugs have a high potential for abuse, have a currently accepted
medical use, and may lead to severe psychological or physical dependence. 21 U.S.C. § 812.
Schedule II drugs may not be dispensed without an original copy of a manually signed
prescription, which may not be refilled, from a doctor and filled by pharmacist who has verified
that it is a valid prescription.
                                           Page 7 of 32
 Case 1:17-cv-00946        Document 29        Filed 02/24/17      Page 8 of 32 PageID #: 351




       35.     Like heroin, prescription opioids work by binding to receptors on the spinal cord

and in the brain, dampening the perception of pain. Opioids also can create a euphoric high,

which can also make them addictive.

causing respiratory depression and, ultimately, death.

       36.     Defendants herein each played a key part in the creation, proliferation, and

continuation of the opioid epidemic and the resulting catastrophic damage.

       37.     Defendants each profited while disregarding the impact that their actions had on

the people under the spell of these drugs and the cities and towns where they lived.

       38.     Defendants each played a key role in the distribution and prescribing of opioids

over the relevant time period. Simply put, the scheme could not have worked without each

Defendant playing their respective part or at a minimum, remaining silent about the absurd

volume of drugs which they were collectively shipping into or prescribing for McDowell

County.

       39.     Opioids   once a niche drug     are now the most prescribed class of drugs; more

than blood pressure, cholesterol, or anxiety drugs. While Americans represent only 4.6% of the



global hydrocodone supply.       Together, opioids generated $8 billion in revenue for drug

companies in 2012, a number that exceeded $15 billion in 2016.

       40.     Moreover, opioid abuse has not displaced heroin, but rather has triggered

resurgence in its use, imposing additional burdens on McDowell County and local agencies that




                                           Page 8 of 32
    Case 1:17-cv-00946      Document 29        Filed 02/24/17      Page 9 of 32 PageID #: 352




address heroin use and addiction. For instance, Huntington, West Virginia experienced 27

heroin overdoses in the span of four hours on August 15, 2016. 8

        41.    According to the CDC, the percentage of heroin users who also use opioid pain

relievers rose from 20.7% in 2002 to 2004 to 45.2% in 2011 to 2013. Heroin produces a very

similar high to prescription opioids, but is often cheaper. While a single opioid pill may cost

$10-$15 on the street, users can obtain a bag of heroin, with multiple highs, for the same price.

It is hard to imagine the powerful pull that would cause a law-abiding, middle-aged person who

started on prescription opioids for a back injury to turn to buying, snorting, or injecting heroin,

but that is the dark side of opioid abuse and addiction.

        42.    Dr. Robert DuPont, former director of the National Institute on Drug Abuse and

the former White House drug czar, opines that opioids are more destructive than crack cocaine:


        for death, in particular, [is] way beyond anything we saw then. . . . [F]or pain
        medicine, a one-day dose can be sold on the black market for $100. And a single
        dose can [be] lethal to a non-patient. There is no other medicine that has those
        characteristics. And if you think about that combination and the millions of
        people who are using these medicines, you get some idea of the exposure of the
        society to the prescription drug problem. 9

        43.    Pharmaceuticals like opioids are not sold directly to physicians or pharmacies for

ultimate dispensing. Rather, there is a sophisticated system which distributes the drugs across

the nation.

        44.    Make no mistake; the role of the pharmaceutical distributor is not simply one of

freight forwarder or shipper. Each of the Defendant distributors is a member of the trade group


8
  See http://www.cnn.com/2016/08/17/health/west-virginia-city-has-27-heroin-overdoses-in-4-
hours/index.html
9
  Transcript, Use and Abuse of Prescription Painkillers, The Diane Rehm Show (Apr. 21, 2011),
http://thedianerehmshow.org/shows/2011-04-21/use-and-abuse-prescription-
painkillers/transcript.
                                          Page 9 of 32
 Case 1:17-cv-00946          Document 29       Filed 02/24/17       Page 10 of 32 PageID #: 353




Healthcare Distribution Alliance (HDA), formerly known as the Healthcare Distribution

Management Association (HDMA).             According to the HDA, the leading trade group of



right medicines to the right patients at the right time, safely and efficiently 10

          45.    In fact, as the dominant players within the healthcare distribution industry, senior

executives from each of the Defendant distributors have historically served on the board of the

HDA or HDMA. Currently, Cardinal            CEO Jon Giacomin serves as the Chairman of HDA.

ABDC s                                                                               are both on the

current executive committee of this powerful trade group.

          46.                                                       hile distributors do not prescribe

or dispense drugs directly to patients, they do share a common goal with physicians,

manufacturers, pharmacists, law enforcement officials and policymakers: to ensure a safe supply

of medicines. Among other safeguards, distributors are dedicated to keeping prescription

painkillers out of the hands of people who may use them for purposes other than those for

which they are intended. 11 (emphasis added)

          47.    According to their website, members of HDA, including the Defendant

distributors named herein, are committed to addressing the threat of prescription painkillers

ending up in the wrong hands. Their multilayered approach includes the following:

          Our members register with the DEA and follow rigorous statutory and regulatory
          requirements for the storage, handling and distribution of controlled substances. These
          sophisticated security systems and processes help safeguard the supply chain.



10
     See http://www.hdma.net/about/role-of-distributors
11
     See http://www.hdma.net/issues/prescription-drug-abuse-and-diversion

                                            Page 10 of 32
Case 1:17-cv-00946        Document 29        Filed 02/24/17     Page 11 of 32 PageID #: 354




       Pharmaceutical distributors coordinate with a range of supply chain partners, as well as
       federal and state regulatory agencies, to help prevent the diversion of prescription drugs.

       We work with supply chain stakeholders, including pharmaceutical manufacturers,
       hospitals, retail pharmacies and other healthcare providers, to share information and
       develop strategies to identify and help prevent abuse and diversion.

       We work collaboratively with law enforcement and regulators to combat bad actors who
       attempt to breach the security of the legitimate supply chain, coordinating with law
       enforcement and regulators to offer information technology, security and logistics
       expertise that helps locate and prosecute individuals who attempt to misuse and divert
       prescription drugs from the legitimate supply chain.


       purchases from pharmacies and healthcare providers that order controlled substances to

       ordering might signal inappropriate use of the product. If inappropriate use is suspected,
       distributors work proactively with DEA, local law enforcement and others to help in the
       investigation of potential diversion cases.

       We provide the DEA with additional data and reports to aid their efforts to seek out
       criminal behavior. Distributors communicate about any handling of selected controlled

       Orders System (ARCOS). This system monitors the flow of DEA controlled substances
       from their point of manufacture through commercial distribution channels to the point of
       sale at the dispensing/retail level.

       48.     Beyond their industry commitments and trade group pledges, as entities involved

in the distribution and sale of dangerous opioid medications, Defendant distributors were

engaged in an abnormally and/or inherently dangerous activity and, thus, had a heightened duty

of care under West Virginia law.

       49.     Defendants were on notice that the controlled substances they distributed or

prescribed were the kinds that were susceptible to being diverted for illegal purposes, abused,

overused, and otherwise sought for illegal, unhealthy, or problematic purposes.

       50.     Defendant distributors purchased opioids from manufacturers and sold them to

pharmacies throughout McDowell County.


                                         Page 11 of 32
Case 1:17-cv-00946         Document 29         Filed 02/24/17      Page 12 of 32 PageID #: 355




       51.     Defendant distributors knew or should have known that they were supplying vast

amounts of dangerous drugs to small markets that were already facing abuse, diversion, misuse

and other problems associated with the opioid epidemic.           Though they had a duty to the

consuming public, collectively and individually, Defendant distributors failed to take any action

to prevent, minimize, or reduce the distribution of these dangerous drugs.

       52.     Likewise, individuals in West Virginia cannot obtain opioids without a

prescription written by a licensed medical provider. Dr. Cofer was a licensed medical provider

in West Virginia over the relevant time period. Dr. Cofer provided written opioid prescriptions

for patients despite knowing that the opioids were likely to be abused, diverted, or misused. Dr.

Cofer knew or should have known his actions resulted in patients obtaining dangerous drugs that

they did not need, were likely to be abused, or were likely to be resold on the street.

       53.     Defendants were on notice that West Virginia law required them, inter alia, to

provide effective controls and procedures to guard against diversion of controlled substances,

pursuant to 15 C.S.R. § 2-4.21 and 2-4.4 and the WV Controlled Substances Act.

       54.                                                                                or nearly

everyone in McDowell County except the Defendants.

                                   The Role of the Distributors

       55.     McKesson, Cardinal, and ABDC are all in the business of pharmaceutical

distribution. These Defendants, collectively referred to as Defendant Distributors, knew, or

should have known that West Virginia had an exceedingly high rate of illegal use and diversion

of prescription opioids.    Numerous publications, news sources and studies highlighted the

epidemic rate of opioid abuse and overdose rates in West Virginia.




                                           Page 12 of 32
Case 1:17-cv-00946         Document 29         Filed 02/24/17   Page 13 of 32 PageID #: 356




       56.

Johnson Foundation that focused on overdose statistics from 2009 to 2013, West Virginia has the

highest overdose rate in the country.

       57.     The HDA

Enforcement Agency requirements which stressed the critical role of each member of the supply

chain in distributing controlled substances.

a sophisticated supply chain, Distributors are uniquely situated to perform due diligence in order

                                                                                       Indeed, the

HDMA advises all distributors

       58.     Defendant Distributors have shipped millions of doses of highly addictive

controlled pain killers into McDowell County, many of which should have been stopped and/or

investigated as suspicious orders.

       59.     Upon information and belief, Defendant Distributors failed to adopt or implement

effective affirmative efforts to prevent diversion of their medicines for illegal or abusive

purposes.

       60.     When the population of the county is taken into consideration, Defendant

Distributors delivered an excessive and unreasonable number of highly addictive controlled

substances in McDowell County.

       61.     Defendant Distributors undertook no discernible efforts to determine whether the

volume of prescription pain killers it was shipping to McDowell County was excessive and

whether any of the orders it filled qualified as suspicious orders, which should have been

refused.




                                           Page 13 of 32
Case 1:17-cv-00946         Document 29           Filed 02/24/17   Page 14 of 32 PageID #: 357




          62.   Upon information and belief, Defendant Distributors have failed to refuse to ship

or supply controlled substances to McDowell County pharmacies, between 2007 and the present.

          63.   Defendant Distributors knew or should have known that they were supplying

opioid medications far in excess of the legitimate needs for McDowell County.

          64.   Defendant Distributors knew or should have known that there was a high

likelihood that a substantial number of the prescription pain killers they supplied to pharmacies

and drug stores in McDowell County were being diverted to illegal use or abuse.

          65.   Defendant Distributors had a legal duty to ensure they were not filling suspicious

orders.

          66.   The sheer volume of highly addictive opioid pain medications Defendant

Distributors shipped to McDowell County from 2007 through the present was suspicious on its

face.

          67.   Upon information and belief, Defendant Distributors made little to no effort to

visit the pharmacies and drug stores in McDowell County to which they shipped substantial

amounts of prescription medication to do due diligence to ensure the medications they were

shipping were not diverted to illegal uses.

          68.   Rather, Defendant Distributors paid their sales force               and managers

bonuses and commissions on the sale of most or all of the highly addictive prescription pain

killers supplied to McDowell County.

          69.   Defendant Distributors made substantial profits from the drugs which were sold in

McDowell County.

          70.   Defendant Distributors knowingly filled, and failed to report, suspicious orders in

McDowell County from 2007 to the present.


                                              Page 14 of 32
 Case 1:17-cv-00946         Document 29      Filed 02/24/17     Page 15 of 32 PageID #: 358




        71.      Defendant Distributors intentional distribution of excessive prescription pain

killers to a small community showed a reckless disregard to the safety of McDowell County and

its residents.

        72.      As an example, in 2010, McDowell County had a total population of

approximately 22,000 individuals with approximately 20% of those being under the age of

eighteen, leaving an adult population of approximately 17,500. 12

        73.

serving one third of the population, or about 5,775 individuals. According to CDC averages,

McKesson should have anticipated providing prescriptions for about 400 of these McDowell

County residents who received a valid prescription for a pain killer during any thirty day period.

Upon information and belief, from 2007 to 2012, McKesson supplied 9,393.7 doses for each

anticipated patient in McDowell County.

        74.      Defendant Distributors thus knew or should have known the amount of

Oxycodone and Hydrocodone they supplied to McDowell County was in excess of any amount

reasonable to serve a community as small as McDowell County.

        75.      The claims and allegations contained herein should come as no surprise to the

Defendant Distributors.

        76.      In 2008 McKesson paid the Department of Justice $13.25 million for failing to

comply with its obligations under the Controlled Substances Act. Specifically, the government

alleged that McKesson failed to report suspicious orders for opioids from internet pharmacies.



12
   See U.S. Census Bureau, QuickFacts, McDowell County, West Virginia, available at
http://www.census.gov/quickfacts/chart/POP010210/54047; id., Profile of General Population
and Housing Characteristics: 2010,
https://factfinder.census.gov/faces/tableservices/jsf/pages/productview.xhtml?src=bkmk.
                                           Page 15 of 32
 Case 1:17-cv-00946        Document 29        Filed 02/24/17     Page 16 of 32 PageID #: 359




       77.     On January 17, 2017, the Department of Justice announced it had reached another

settlement with McKesson Corporation, this time to pay $150 million to resolve allegations

McKesson had violated the Controlled Substances Act by filling millions of orders for drugs,

including highly addictive opioids, without sufficient anti-abuse safeguards.

       78.     According to the press release,         rom 2008 until 2013, McKesson supplied

various U.S. pharmacies an increasing amount of oxycodone and hydrocodone pills, frequently
                                                                                            13
misused products that are part of the current opioid

       79.     As part of the nationwide settlement, McKesson agreed to suspend sales of

controlled substances from distribution centers in Colorado, Ohio, Michigan, and Florida for



Enforcement Administration registered distributor.

       80.     Similarly, in 2008 Cardinal paid a $34 million fine for failing to report suspicious

                                                                                   warehouse was

suspended by the DEA for two years as a result of shipping suspect orders of opioids.

                                     The Role of Dr. Cofer

       81.     Despite being a licensed physician, Dr. Cofer undertook no efforts to determine

whether the volume of prescription pain killers he was prescribing to his patients was excessive

and whether any of the prescriptions he wrote should have been refused.

       82.     Dr. Cofer knew or should have known that he was prescribing opioid medications

far in excess of the legitimate needs for McDowell County residents.



13
                                                                rida, McKesson Agrees To Pay
Record $150 Million Settlement For Failure To Report Suspicious Orders Of Pharmaceutical
Drugs (Jan. 17, 2017), available at https://www.justice.gov/usao-mdfl/pr/mckesson-agrees-pay-
record-150-million-settlement-failure-report-suspicious-orders.
                                         Page 16 of 32
Case 1:17-cv-00946        Document 29        Filed 02/24/17     Page 17 of 32 PageID #: 360




       83.     Dr. Cofer knew or should have known that there was a high likelihood that a

substantial number of the prescription pain killers he wrote for residents of McDowell County or

for patients whose prescriptions were filled within McDowell County, were being diverted to

illegal use or abuse.

       84.     Dr. Cofer had a legal duty to ensure he was not prescribing suspicious orders.

       85.     The sheer volume of highly addictive opioid pain medications Dr. Cofer wrote

from 2007-present was suspicious on its face.

       86.     Indeed, Dr. Cofer was investigated by the Complaint Committee of the West

Virginia Board of Medicine for improper prescribing of narcotic pain medication. In March

2015, the Committee initiated a second investigation of Dr. Cofer based on a report from the

West Virginia Controlled Substance Monitoring Program Database Review Committee (CSMP

Review Committee).

       87.     The CSMP Review Committee notified the West Virginia Board of Medicine that

a review done by the chief medical examiner of two drug overdoses could be traced to

prescriptions written by Defendant for controlled substances. The overdoses resulted in the

death of two patients.

       88.     In addition to the two patients who died, 14 other patients who had been

prescribed controlled substances were included in the review by the West Virginia Board of

Medicine.

       89.     The West Virginia Board of Medicine concluded that Dr. Co         medical records

did not contain evidence of routine use of controlled substance agreements or routine drug

screens prior to 2015.




                                          Page 17 of 32
Case 1:17-cv-00946            Document 29        Filed 02/24/17      Page 18 of 32 PageID #: 361




          90.     The West Virginia Board of Medicine concluded that                   medical records

contained limited documentation that drug screens were reviewed and documented in the patient

record.

          91.     The West Virginia Board of Medicine concluded that                   medical records

contained limited evidence that the Controlled Substance Monitoring Program database was

queried in conformity with West Virginia statute (W. VA. Code R. §11-10-1 et. seq.).

          92.     On or about February 6, 2016, Dr. Cofer agreed with the stipulated Findings of

Fact and Conclusions of Law reached by the West Virginia Board of Medicine.

   V.           CAUSES OF ACTION


                                      COUNT I
                       NEGLIGENCE OF DEFENDANT DISTRIBUTORS

          93.     Plaintiff incorporates by reference the allegations in paragraphs 1 through 92.

          94.     Defendant    Distributors    are   distributors   of   controlled   substances    and

must comply with both the laws of West Virginia and with industry customs and standards.

          95.     Industry standards require these Defendants to:

                         know its customers,

                         know its customer base,

                         know the population base served by a particular pharmacy or drug store,

                         know the average prescriptions filled each day,

                         know the percentage of diverted and/or abused controlled substances
                         distributed as compared to overall purchases,

                         have a description of how the dispenser fulfills its responsibility to ensure
                         that prescriptions filled are for legitimate medical purposes, and




                                              Page 18 of 32
Case 1:17-cv-00946         Document 29       Filed 02/24/17      Page 19 of 32 PageID #: 362




                      know the identification of the physicians and bogus pain clinics and
                      centers for the alleged treatment of pain that are the pharmacy or drug


       96.     Defendant Distributors negligently failed to ensure its conduct conformed to

industry standards.

       97.     Defendant Distributors negligently failed to ensure its conduct conformed to West

Virginia law and regulations.

       98.     Defendant Distributors negligently failed to conform its conduct conformed to the

duties imposed by common law.

       99.     As licensed registrants with the West Virginia Board of Pharmacy, McKesson,

AmeriSource and Cardinal were required to submit suspicious order reports.

       100.    McKesson, AmeriSource and Cardinal failed to submit, or fully disclose

suspicious orders.

       101.    Likewise, Defendant Distributors negligently turned a blind eye to the foregoing

factors by regularly distributing large quantities of commonly-abused, highly addictive

controlled substances to clients who were serving a customer base comprised of individuals who

were abusing prescription medications, many of whom were addicted and whom reasonably can

be expected to become addicted or to engage in illicit drug transactions.

       102.    The aforementioned conduct was a direct breach of the duty Defendant

Distributors owed to Plaintiff which was the proximate cause of Plaintiff suffering damages.

                                       COUNT II
                                NEGLIGENCE OF DR. COFER

       103.    Plaintiff incorporates by reference the allegations in paragraphs 1 through 92.




                                          Page 19 of 32
 Case 1:17-cv-00946          Document 29       Filed 02/24/17     Page 20 of 32 PageID #: 363




          104.   Medicare data obtained for the years 2012 through 2014 showed a steady increase

in the number of claims filed by Dr. Cofer for Medicare Part D. In 2012, Dr. Cofer filed 7,133

claims; in 2013, Dr. Cofer filed 10,238 claims; and in 2014, Dr. Cofer filed 12,468 claims. 14

          105.   Data obtained from an agency of the United States government for 2013 revealed

that Dr. Cofer prescribed schedule II drugs to 19% of the 397 Medicare patients examined in

2013. The average among all physicians was only 5%.

          106.   Dr. Cofer wrote 308 prescriptions (to include refills) for Oxycodone HCL 15 to

Medicare patients in 2013. Based on an average of 30 pills per prescription, this equaled 9,240

pills.

          107.   The 308 prescriptions for Oxycodone HCL was the second highest prescribed

medication by Dr. Cofer in 2013.

          108.   Data obtained from an agency of the United States government for 2014 revealed

that Dr. Cofer filled at least one prescription for an opioid to 57% of the 449 Medicare patients

examined in 2014. The average among physicians was only 25%.

          109.   Dr. Cofer wrote 387 prescriptions (to include refills) for Oxycodone HCL to

Medicare patients in 2014. Based on an average of 30 pills per prescription, this equaled 11,610

pills.

          110.   The 387 prescriptions of Oxycodone HCL was the third highest prescribed

medication by Dr. Cofer in 2014.




14
     All Medicare data for Dr. Cofer was located at ProPublica.org.
15

Substance. The DEA defines Schedule II drugs as having a high potential for abuse which may
lead to severe psychological or physical dependence.
                                          Page 20 of 32
Case 1:17-cv-00946          Document 29       Filed 02/24/17    Page 21 of 32 PageID #: 364




       111.       In January 2015, the Complaint Committee of the West Virginia Board of

Medicine (West Virginia Board of Medicine) initiated an investigation of Dr. Cofer for improper

prescribing of narcotic pain medication.

       112.       In March 2015, the West Virginia Board of Medicine initiated a second

investigation of Dr. Cofer based on a report from the West Virginia Controlled Substance

Monitoring Program Database Review Committee (CSMP Review Committee).

       113.       The CSMP Review Committee notified the West Virginia Board of Medicine that

a review done by the chief medical examiner of two drug overdoses could be traced to

prescriptions written by Dr. Cofer for controlled substances. The overdoses resulted in the death

of two patients.

       114.       In addition to the two patients who died, 14 other patients who had been

prescribed controlled substances were included in the review by the West Virginia Board of

Medicine.

       115.       The West Virginia Boa

did not contain evidence of routine use of controlled substance agreements or routine drug

screens prior to 2015.

       116.

records contained limited documentation that drug screens were reviewed and documented in the

patient record.

       117.

records contained limited evidence that the Controlled Substance Monitoring Program database

was queried in conformity with West Virginia statute (W. VA. Code R. §11-10-1 et. seq.).




                                           Page 21 of 32
Case 1:17-cv-00946          Document 29        Filed 02/24/17    Page 22 of 32 PageID #: 365




       118.      On or about February 6, 2016, Dr. Cofer agreed with the stipulated Findings of

Fact and Conclusions of Law reached by the West Virginia Board of Medicine.

       119.      As a practicing physician treating patients who lived or worked in McDowell

County, Dr. Cofer owed a duty of care to the residents of McDowell County and to McDowell

County itself.

       120.      Dr. Cofer s negligent acts and omissions have led to the dispensing of controlled

substances for non-legitimate medical purposes and fueling a prescription drug abuse epidemic

in West Virginia.

       121.      Dr. Cofer s negligent acts and omissions supplied millions of doses of commonly-

abused, highly addictive controlled substances that supported the demands of bogus pain clinics

that did little more than provide prescriptions of highly addictive prescription pain killers to

individuals with no medical evidence supporting the prescription.

       122.      Dr. Cofer s negligent acts and omissions fueled countless prescriptions that were

primarily filled to divert the medication to illegal purposes.

       123.      Dr. Cofer s negligent violations of West Virginia law make him liable for all the

damages which are sustained therefrom. W.Va. Code § 55-7-9.

       124.      Dr. Cofer s negligent acts and omissions have proximately caused and

substantially contributed to damage suffered by Plaintiff.

                                            COUNT III
 DEFENDANT                                         OF W.VA. CODE §§ 60A-8-1 and 55-7-9

       125.      Plaintiff incorporates by reference the allegations contained in paragraph 1

through 92.

       126.      Defendant Distributors intentionally contributed to the prescription drug abuse

epidemic in the state of West Virginia, and specifically in McDowell County, through repeated
                                           Page 22 of 32
Case 1:17-cv-00946           Document 29      Filed 02/24/17     Page 23 of 32 PageID #: 366




intentional violations of various provisions of the West Virginia Uniform Controlled Substances

Act as well as through reckless disregard to the safety and well-being to the citizens of West

Virginia.

        127.    Through their actions outlined herein, Defendant Distributors intentionally failed

to meet or otherwise misrepresented their compliance with the requirements of W.Va. Code

§ 60A-8-1 et seq. and otherwise intentionally violated the West Virginia Uniform Controlled

Substances Act.

        128.    Defendant Distributors intentionally failed to ensure their conduct conformed to

industry standards, West Virginia law and other regulations.

        129.    Defendant Distributors intentionally turned a blind eye toward industry standards,

West Virginia law, and other regulations by regularly distributing obscenely large quantities of

commonly-abused, highly addictive controlled substances to clients who were serving a

customer base comprised of individuals who were abusing prescription medications, many of

whom were addicted and whom can reasonably be expected to become addicted or to engage in

illicit drug transactions.

        130.    Defendant Distributors intentional acts and omissions have led to the dispensing

of controlled substances for non-legitimate medical purposes and fueling a prescription drug

abuse epidemic in West Virginia generally, and specifically in McDowell County.

        131.                            intentional acts and omissions supplied millions of doses

of commonly-abused, highly addictive controlled substances that supported the demands of

bogus pain clinics that did little more than provide prescriptions of highly addictive prescription

pain killers to individuals with no medical evidence supporting the prescription.




                                           Page 23 of 32
Case 1:17-cv-00946         Document 29          Filed 02/24/17    Page 24 of 32 PageID #: 367




       132.                                  intentional acts and omissions fueled countless

prescriptions that were primarily filled to divert the medication to illegal purposes including but

not limited to those written by Dr. Cofer.

       133.    Defendant Distributors intentional violations of West Virginia law make it liable

for all the damages which are sustained therefrom. W.Va. Code § 55-7-9.

       134.                              intentional acts and omissions have proximately caused

and substantially contributed to damage suffered by McDowell County, and created conditions

which contribute to the violation of West Virginia laws by others.

       135.                             intentional acts and omissions have proximately caused

and substantially contributed to damages suffered by Plaintiff and were in violation of the

customs, standards and practices within Defendant      own industries.

       136.    Upon information and belief, Defendant Distributors continue to intentionally

violate West Virginia laws and regulations, Defendant Distributors industry customs, and other

standards and practices which continue to proximately cause substantial damages to Plaintiff.

                                                 COUNT IV
                                                 OF W.VA. CODE §§60A-4-401 and 55-7-9

       137.    Plaintiff incorporates by reference the allegations contained in paragraph 1

through 92.

       138.    Dr. Cofer constructively delivered controlled substances requiring valid

prescriptions by the issuance of purported prescriptions on behalf of patients who received the

controlled substances from various pharmacists who filled such prescriptions either in McDowell

County, for McDowell County residents, or otherwise for recipients of said substances whose

actions harmed or impacted Plaintiff.



                                             Page 24 of 32
Case 1:17-cv-00946         Document 29        Filed 02/24/17    Page 25 of 32 PageID #: 368




       139.    Dr. Cofer issued such prescriptions intentionally or knowingly outside the usual



                                    W.Va. Code, 60A 1 101(v), as amended

prescriptions were issued intentionally or knowingly without a legitimate medical other

authorized purpose.

       140.

in violation of W.Va. Code, 60A 4 401(a), as amended, which is part of West Virginia's

Uniform Controlled Substances Act.

       141.                intentional violations of West Virginia law make him liable for all the

damages which are sustained therefrom. W.Va. Code § 55-7-9.

       142.                               acts and omissions have proximately caused and

substantially contributed to damage suffered by McDowell County, and created conditions which

contribute to the violation of West Virginia laws by others.

                                         COUNT V
                                    UNJUST ENRICHMENT

       143.    Plaintiff incorporates by reference the allegations contained in paragraphs 1

through 92.

       144.    As a result of all                      Plaintiff has expended substantial amounts

of money annually that it would not have otherwise expended on numerous services, including,

but not limited to: law enforcement, prosecutors and prosecutions, courts and court personnel,

public defender services, corrections and correctional facilities, probation and parole, public

welfare and service agencies, emergency, healthcare and medical services and drug abuse

education and treatment, public utilities, nuisance abatement, property damage repair, and code

enforcement.
                                          Page 25 of 32
Case 1:17-cv-00946          Document 29        Filed 02/24/17     Page 26 of 32 PageID #: 369




       145.    Plaintiff has lost tax revenue and incurred direct and indirect costs as a result of

workplace accidents, absenteeism, and decreased productivity from prescription drug abuse

                                                   .

       146.    Plaintiff will continue to incur these increased costs, or continue to suffer these

losses, in the future as a result of the Defendants conduct listed herein.

       147.    Collectively, all Defendants made substantial profits while fueling the

prescription drug epidemic in West Virginia and McDowell County.

       148.    Defendant Distributors continue to receive considerable profits from the

distribution of controlled substances in McDowell County.

       149.    Defendants were each unjustly enriched by their negligent, intentional, malicious,

oppressive, illegal and unethical acts, omissions, and wrongdoing.

       150.    Defendants negligent, intentional, malicious, oppressive, illegal and unethical

acts, omissions, and wrongdoing have unjustly enriched the Defendants and are directly related

to the damages, losses, and to the detriment of the Plaintiff.

       151.    Defendants are liable to Plaintiff for all damages incurred as a result of

Defendants negligent, intentional, malicious, oppressive, illegal and unethical acts, omissions,

and wrongdoing contained herein.

       152.                                                             behalf conferred beneficial

services on Defendants; satisfied a debt or duty owed by Defendants; added to

security or advantage, and/or saved                expense or loss.

       153.    Defendants negligent, intentional, malicious, oppressive, illegal and unethical

acts, omissions, and wrongdoing entitle Plaintiff to disgorgement of the profits received by




                                           Page 26 of 32
Case 1:17-cv-00946          Document 29        Filed 02/24/17     Page 27 of 32 PageID #: 370




Defendants for all sales it made in McDowell County or to McDowell County residents from

2007 to present.

                                               COUNT VI
                                            PUBLIC NUISANCE

        154.     Plaintiff incorporates by reference the allegations contained in paragraphs 1

through 92.

        155.     Defendants sold, prescribed or distributed opioids in a manner that created or

participated in creating a public nuisance that is harmful and injurious to McDowell County and

its residents.

        156.     Defendants knowingly, intentionally, recklessly, and/or negligently, disseminated

massive quantities of opioids to suspect physicians and pharmacies and into the black market,

drug rings, pill mills, and dealers.

        157.     Defendants also enabled and/or failed to prevent the illegal diversion of opioids

into the black market, including through drug rings, pill mills, and other dealers in McDowell

County, with actual knowledge, intent, and/or reckless or negligent disregard that such pills

would be illegally trafficked and abused.

        158.



harm to McDowell County and its residents.

        159.     As such, Defendants wrongful conduct has given rise to a public nuisance,

including the unlawful availability and abuse of opioids and addiction within McDowell County.

        160.     The rights, interests, and inconvenience to McDowell County and the general

public far outweigh the rights, interests, and inconvenience to Defendants, which profited

heavily from the illegal diversion, abuse, misuse and negligent proliferation of opioids.
                                            Page 27 of 32
Case 1:17-cv-00946         Document 29       Filed 02/24/17      Page 28 of 32 PageID #: 371




       161.   McDowell County is entitled to abate the public nuisance and to obtain damages

occasioned by the public nuisance.

                                       COUNT VII
                             INTENTIONAL ACTS AND OMISSIONS

       162.   Plaintiff incorporates, by reference, all allegations in Paragraphs 1¬92.

       163.   Defendants intentionally contributed to the prescription drug abuse epidemic in

McDowell County through repeated intentional violations of various provisions of the West

Virginia Uniform Controlled Substances Act and through reckless disregard to the safety and

well-being to the citizens of McDowell County, to wit:

       Defendants intentionally and improperly dispensed, and continues to dispense
       prescriptions contrary to W.Va. Code § 60A-3-308;
       Defendants intentionally engaged in prohibited acts, contrary to W.Va. Code §§ 60A-4-
       401 through 403;
       Defendants intentionally abetted and continue to abet individuals in deceiving and
       attempting to deceive medical practitioners in order to obtain prescriptions in violation of
       W.Va. Code § 60A-4-401.
       Defendants intentionally failed to meet the requirements of W.Va. Code § 60A-8-1 et
       seq.
       Defendants intentionally conspired to violate the WV Uniform Controlled Substances
       Act.
       Defendants intentionally failed to ensure its conduct conformed to industry standards.
       Defendants intentionally failed to ensure its conduct conformed to West Virginia law and
       regulations.
       Defendants intentionally turned a blind eye toward the foregoing industry standards by
       regularly distributing large quantities of commonly-abused, highly addictive controlled
       substances to clients who were serving a customer base comprised of individuals who
       were abusing prescription medications, many of whom were addicted and whom can
       reasonably be expected to become addicted or to engage in illicit drug transactions.

       164.   Defendants    intentional acts and omissions have led to the dispensing of

controlled substances for non-legitimate medical purposes and fueling a prescription drug abuse

epidemic in McDowell County.




                                          Page 28 of 32
Case 1:17-cv-00946           Document 29        Filed 02/24/17    Page 29 of 32 PageID #: 372




         165.    Defendants intentional acts and omissions ultimately supplied millions of doses

of commonly-abused, highly addictive controlled substances to patients of pill mills and

physicians like Dr. Cofer with no legitimate medical evidence supporting the prescription.

         166.    Defendants intentional acts and omissions fueled countless prescriptions that

were primarily filled to divert the medication to illegal purposes.

         167.    Defendants intentional violations of West Virginia law make it liable for all the

damages which are sustained therefrom. W. Va. Code § 55-7-9.

         168.                   intentional acts and omissions have proximately caused and

substantially contributed to damage suffered by McDowell County, and created conditions which

contribute to the violation of West Virginia laws by others.

         169.                   intentional acts and omissions have proximately caused and

substantially contributed to damages suffered by Plaintiff and were in violation of the customs,

standards and practices within Defendants own industry.

         170.    Upon information and belief, Defendants continue to intentionally violate West

                                                                                             , and

continue to proximately cause substantial damages to Plaintiff.

   VI.        PRAYER

         WEHREFORE, Plaintiff prays that the Court grant the following relief:

   1.         Order a jury trial on all issues so triable to determine damages as a result of the
                                                 Amended Complaint

   2.         Enter Judgment in favor of Plaintiff;

   3.         Enter a temporary restraining order which:

         a.      Prevents Defendants from continuing to violate West Virginia laws;



                                             Page 29 of 32
Case 1:17-cv-00946          Document 29       Filed 02/24/17      Page 30 of 32 PageID #: 373




       b.      Mandates that Defendants promptly notify the appropriate authorities of any and
               all suspicious orders for controlled substances as received from parties who are
               located in McDowell County;

       c.      Mandates Defendants submit their system for determining suspicious order to
               those West Virginia authorities for prior approval, and to enjoin Defendants from
               distributing any controlled substance in McDowell County for any non-legitimate
               medical purpose;

       d.      Mandates Defendants provide Plaintiff with the assistance necessary to address
               the addiction and the resulting destruction left by Def
               damage they have caused and are continuing to cause.

  4.        Enter a permanent restraining order which:

       a.      Prevents Defendants from continuing to violate West Virginia laws;


       b.      Mandates that Defendants promptly notify the appropriate authorities of any and
               all suspicious orders for controlled substances as received from parties who are
               located in McDowell County;

       c.      Mandates Defendants submit their system for determining suspicious order to
               those West Virginia authorities for prior approval, and to enjoin Defendants from
               distributing any controlled substance in McDowell County for any non-legitimate
               medical purpose; and

       d.      Mandates Defendants provide Plaintiff with the assistance necessary to address
                                                                                  to abate the
               damage they have caused and are continuing to cause.

  5.        Order equitable relief, including, but not limited to restitution and disgorgement;

  6.        Award punitive damages for Defendants willful, wanton, malicious, oppressive, and
            intentional actions as detailed herein;

  7.        Award a                         , and

  8.        Award such other relief as this Court deems just and fair.
       PLAINTIFF SEEKS A TRIAL BY JURY FOR ALL COUNTS SO TRIABLE.

                                           Page 30 of 32
Case 1:17-cv-00946     Document 29      Filed 02/24/17     Page 31 of 32 PageID #: 374




     Dated: February 24, 2017                  Respectfully submitted,

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                                               Attorneys for Plaintiff




                                     Page 31 of 32
Case 1:17-cv-00946          Document 29        Filed 02/24/17      Page 32 of 32 PageID #: 375




                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on February 24, 2017, I electronically filed a true and correct

copy of the foregoing unopposed motion with the Clerk of the Court using the CM/ECF system,

which will send notification to all attorneys of record in this matter.



                                                       /s/ John Yanchunis




                                           Page 32 of 32
